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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
-v. - SEALED INDICTMENT
AMEET GOYAL, 19 cr. SY)
Defendant.
oe Le ~ 2 LLL x
COUNT ONE

{Health Care Fraud}
The Grand Jury charges:

OVERVIEW OF THE FRAUDULENT SCHEME

 

1. From at least in or about January 2010 up to and
including at least in or about March 2017 (the “Relevant Time
Period”), AMEET GOYAL, the defendant, and others known and unknown,
participated in a scheme to defraud patients, the Medicare Program,
and private insurance plans with respect to billing for
ophthalmologic medical services.

2. In order to effectuate the scheme, among other
things, AMEET GOYAL, the defendant, submitted and caused to he
submitted false and fraudulent claims to the Medicare Program and
private insurance plans, including claims for services to patients
that were not rendered, claims that misrepresented the services
provided, and claims that falsely billed for a level of service

higher or more complicated than the level performed. In addition,

 
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AMEET GOYAL, the defendant, sent bills to individual patients for
services that were not rendered, that misrepresented the services
provided, and that falsely bilted for a level of service higher or
more complicated than the level performed.

3. During the course of the scheme, AMEET GOYAL, the
defendant, billed the Medicare Program, private insurance plans,
and patients at least approximately $8 million for certain
supposedly performed surgical procedures, including orbitotomies,
conjunctivoplasties performed in parallel to orbitotomies, and
excisions and repair of eyelid. GOYAL and his ophthalmology
Practice received over $3 million in payments for such claims. A
substantial portion of these claims contained fraudulent billing
for procedures not performed.

THE DEFENDANT AND RELEVANT PERSONS AND ENTITIES

4, At all times relevant to this Indictment, AMEET
GOYAL, the defendant, was an ophthalmologist and oculoplastic
surgeon, certified by the American Board of Ophthalmology, and
licensed to practice medicine in New York State.

5. At all times relevant to this Indictment, The Eye
Associates Group (the “Practice”}, was an ophthalmology and
oculoplastic medicine practice that operated an office in Rye, New
York, called “Rye Eye Associates.” At certain times relevant to

this Indictment, the Practice also operated ophthalmology
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practices in Wappingers Falls and Mt. Kisco, New York, and
Greenwich, Connecticut.

6. AMEET GOYAL, the defendant, formed, owned,
operated, and practiced at the Practice. The Practice also
employed, at various times relevant to this Indictment, certain
other ophthalmologists and oculoplastic surgeons whe reported to
GOYAL (collectively with GOYAL, the “Ophthalmelogists”).

BACKGROUND ON MEDICARE AND PRIVATE HEALTH CARE BENEFIT PROGRAMS

7. At all times relevant to this Indictment, the
Medicare Program (“Medicare”) was a federal health care program
providing benefits to persons who are over the age of 65 or
disabled. Medicare was administered by the Centers for Medicare
and Medicaid Services ("CMS"), a federal agency under the United
States Department of Health and Human Services. Individuals who
received benefits under Medicare were referred to as Medicare
“beneficiaries.”

8. Medicare was a “health care benefit program” as
defined by Title 18, United States Code, Section 24{b) and
referenced in Title 18, United States Code, Section 1347.

9, Medicare was subdivided into multiple Parts.
Medicare Part B generally covered the costs of physicians’ services

and outpatient care. Generally, Medicare Part B covered such costs

 
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if, among other requirements, they were medically necessary and
ordered by a physician,

10. In order to bill the Medicare program, a health
care provider was required to complete an enrollment application
and be approved to participate in the program. Once approved, the
provider was assigned a unique Medicare provider number. Each
claim for reimbursement submitted on behalf of a health care
provider -—— whether in paper form or electronically --— must have
identified that claimant’s Medicare provider number. Upon
enrollment, and periodically thereafter, each Medicare provider
was furnished with information relevant to participating in the
program and how to bill for services rendered.

11. To receive payment from Medicare for a covered
service, a medical provider was required to submit a claim, either
electronically or in writing, through Form CMS-1500 or Form UB-
92. These forms required a provider to state a diagnosis of the
patient’s condition and provide a procedure code (which codes are
established and published by the American Medical Association),
known as a CPT code, identifying the service or services rendered.
The Medicare program required that a provider certify the services
rendered were medically necessary and were furnished by that
provider. Providers participating in Medicare must have agreed in

writing that they will be responsible for the accuracy of all

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claims submitted by themselves, their employees or their agents,
and that ail claims submitted under their provider numbers will be
“accurate, complete, and truthful.

12, At all times relevant to this Indictment, the
Practice submitted claims to private insurance plans, affecting
commerce, under which medical benefits, items and services were
provided to individuals (collectively, the “Private Benefit
Programs”).

13. Each of the Private Benefit Programs is a “health
care benefit program” as defined by Title 18, United States Code,
Section 24(b) and referenced in Title 18, United States Code,
Section 1347.

14, To receive reimbursement or payment from the
Private Benefit Programs, the Practice submitted claims, based on
CPT codes, either electronically or in writing, for payment of
services, either directly or through a billing company.

SERVICES COVERED BY MEDICARE AND THE PRIVATE BENEFIT PROGRAMS

15. Medicare and the Private Benefit Programs
{collectively, the “Insurance Providers”) covered the costs of
certain medical tests, procedures, and other medical services.
Generally, the Insurance Providers covered these costs only if,
among other requirements, the medical services were actually

rendered and were medically necessary.

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16. The Insurance Providers covered the costs of
ophthalmological services and oculoplastic surgery services,
including excisions of chalazions, excision of eyelid, full
thickness, orbitotomy, and conjunctivoplasty.

17. At all times relevant to this Indictment, the
Ophthalmologists in the Practice commonly treated a minor eyelid
condition called a chalazion. A chalazion is a small, typically
painless bump that appears on the eyelid usually due to a blocked
oil gland. Chalazions are commonly treated with warm compresses
and gentle massage to clear up on their own. Chalazions that
require surgical intervention, typically referred to as “excision
of chalazion,” are often treated through an incision on the eyelid
and drainage —— a type of eyelid surgery. An ordinary excision of
chalazion is generally performed under local numbing anesthesia
and is typically completed in less than 15 minutes.

18. Under the relevant coding guidelines for the
Insurance Providers, an excision of chalazion must be billed under
its specific CPT code and not as some other service, such as an
excision and repair of eyelid, orbitotomy, or conjunctivoplasty.
During the Relevant Time Period, AMEET GOYAL, the defendant, billed
Insurance Providers and patients CPT codes associated with
treatment of a chalazion fewer than 40 times for his own

procedures, GOYAL billed these chalazion-related CPT codes at
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approximately S400 and received an average payment of
approximately $200 for each of his procedures billed under those
codes. "

19. An excision and repair of eyelid, as coded under
CPT code 67961, is a type of eyelid surgery involving
reconstruction or removal of certain lesions other than
chalazions, During the Relevant Time Period, AMEET GOYAL, the
defendant, billed Insurance Providers and patients CPT code 67961
over 1,600 times for his own procedures. GOYAL billed CPT code
67961 at approximately $1,500, and received an average payment of
approximately $500 for each of his procedures billed under that
code.

20. An orbitotomy is a significant surgical procedure
into the orbit of the eye, often to remove an orbital tumor. A
typical orbitotomy usually requires at least monitored anesthesia
care or general anesthesia, and generally takes approximately an
hour or more to perform. An orbitotomy is a more complex, time-
consuming, and expensive surgery than the excision of chalazion.
During the Relevant Time Period, AMEET GOYAL, the defendant, billed
Insurance Providers and patients CPT codes associated with an

orbitotomy over 1,400 times for his own procedures. GOYAL billed

these orbitotomy-related CPT codes at approximately $2000, and

 
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received an average payment of approximately $950 for each of his
procedures billed under those codes.

21. A conjunctivoplasty is a procedure that generally
removes or rearranges a part of the conjunctiva, the clear, thin
membrane that covers a part of the front surface of the eye, and
the inner surface of the eyelids. A conjunctivoplasty is sometimes
performed to graft or extend tissue onto a conjunctival wound. It
is a different procedure than the excision of chalazion. During
the Relevant Time Period, AMEET GOYAL, the defendant, billed
Insurance Providers and patients CPT codes associated with a
conjunctivoplasty over 700 times together with a bundled
“orbitotomy” for the same patient. GOYAL billed these bundled
conjunctivoplasty-related CPT codes at approximately $2000 or
$2,500, and received an average payment of approximately $400 -—
in addition to the orbitotomy payments -— for each of his
procedures billed under those codes.

OVERVIEW OF THE HEALTH CARE FRAUD SCHEME

22. In order to effectuate the scheme to defraud, AMEET
GOYAL, the defendant, and others known and unknown, systematically
submitted claims for procedures not performed, such as
orbitotomies, conjunctivoplasties, and excision and repair of

eyelid, when in fact, those surgeries were not performed, and the

 
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procedure actually performed was an excision of chalazion or other
similar lower-paying minor eyelid procedure.

23. To further effectuate the scheme, among other
things, AMEET GOYAL, the defendant, directed employees of the
Practice to falsify billing documents and other medical records,
by, among other things, characterizing excisions of chalazions and
other minor procedures as higher-paying surgeries, such as
orbitotomies with conjunctivoplasties. As part of the scheme,
GOYAL threatened the livelihood of employees of the Practice who
were reluctant to comply with these directions. GOYAL also
personally falsified certain patient medical records, including
his own operating reports, to falsely describe procedures he did
not perform in order to match his fraudulent billing claims.

24. From approximately January 2010 through
approximately March 2017, AMEET GOYAL, the defendant, and others
known and unknown at the Practice, billed the Insurance Providers
and patients over $8 million for supposedly performed
orbitotomies, parallel conjunctivoplasties, and excisions and
repair of eyelid, and received over $3 million in payments for
such claims. A substantial portion of these claims contained
fraudulent billing for procedures not performed.

25, The Insurance Providers paid these fraudulent

claims through, among ways, interstate wire transfers into a bank

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account established and controlled by AMBET GOYAL, the defendant,
in the Southern District of New York.
26. As part of the scheme, AMEET GOYAL, the defendant,
caused debt collection procedures to be initiated against multiple
patients who did not pay the full amount of fraudulently billed
procedures that were not performed.
STATUTORY ALLEGATIONS

27. From at least in or about January 2010 up to and
including in or about March 2017, in the Southern District of New
York and elsewhere, AMEET GOYAL, the defendant, knowingly and
willfully executed, and attempted to execute, a scheme and artifice
to defraud a health care benefit program and to obtain, by means
of false and fraudulent pretenses, representations, and promises,
money and property owned by, and under the custody and control of,
a health care benefit program, in connection with the delivery of
and payment for health care benefits, items, and services, to wit,
AMEET GOYAL participated in a scheme to defraud the Insurance
Providers by making materially false statements in claims for
payment for the provision of medical services.

(Title 18, United States Code, Sections 1347 & 2.)

COUNT TWO
(Wire Fraud)

The Grand Jury further charges:

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28. The allegations set forth in paragraphs 1 through
27 of this Indictment are repeated and realleged as if fully set
forth herein. ,

29, From at least in or about January 2010 up to and
including in or about March 2017, in the Southern District of New
York and elsewhere, AMEET GOYAL, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations and promises,
and attempting to do so, transmitted and caused to be transmitted
by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and
sounds for the purpose of executing such scheme and artifice, to
wit, AMEET GOYAL participated in a scheme to defraud the Insurance
Providers and the patients by making and causing others to make
materially false statements in claims for payment for the provision
of medical services, and in furtherance thereof, AMEET GOYAL caused
wire communications to be sent in interstate commerce, including
through electronic claims made to Insurance Providers and payments
received from Insurance Providers.

(Title 18, United States Code, Sections 1343 & 2.)

COUNT THREE
(False Statements Relating to Health Care Matters)

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The Grand Jury further charges:

30. The allegations contained in paragraphs 1 through
29 of this Indictment are repeated and realleged as if fully set
forth herein.

31. From at least in or about January 2010 up to and
including in or about March 2017, in the Southern Pistrict of New
York and elsewhere, AMEET GOYAL, the defendant, in matters
involving health care benefit programs, and in connection with the
delivery of and payment for health care benefits, items, and
services, willfully and knowingly did falsify, conceal, and cover
up by trick, scheme, and device, material facts, and make
materially false, fictitious, and fraudulent statements and
representations, and did make and use materially false writings
and documents knowing the same to contain materially false,
fictitious, and fraudulent statements and entries, to wit, AMEET
GOYAL made and caused others to make materially false statements
to the tnsurance Providers in claims for payment for the provision
of medical services,

{Title 18, United States Code, Sections 1035 & 2.)

FORFEITURE ALLEGATION

 

32. As a result of committing the offenses alleged in
Counts One, Two, and Three, of this Indictment, AMEET GOYAL, the

defendant, shall forfeit to the United States, pursuant to Title
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18, United States Code, Section 981(a)(1)(C) and Title 28, United
States Code, Section 2461l(c), any and all property, real and
personal, that constitutes or is derived, directly or indirectly,
from gross proceeds traceable to the commission of the offenses
alleged in Counts One, Two, and Three of this Indictment, including
but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission of
said offenses.

Substitute Assets Provision

 

33. If any of the above described forfeitable property,
as a result of any act or omission of the defendants:

(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with,
a third person;

{c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or

(¢) has been commingled with other property which cannot

be subdivided witnout difficulty;

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it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p) and Title 28, United States Code,
Section 246l(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461,

Spa. _

GEOFFR . BERMAN
United states Attorney

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
-— vv. —_
AMEET GOYAL,

Defendant,

 

SEALED INDICTMENT

19 Cr. ss ( )

{Title 18, United States Code,
Sections 1035, 1343, 1347, & 2)

GEOFFREY S. BERMAN
United States Attorney.

 

 

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